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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


IN RE PRESS APPLICATION FOR ACCESS                 Case No. _________
TO JUDICIAL RECORDS AND
PROCEEDINGS ANCILLARY TO                           Chief Judge Beryl A. Howell
CERTAIN GRAND JURY PROCEEDINGS
CONCERNING DONALD J. TRUMP                         Hearing Requested
AND THE TRUMP ORGANIZATION


        PRESS APPLICATION FOR ACCESS TO JUDICIAL RECORDS AND
     PROCEEDINGS ANCILLARY TO CERTAIN GRAND JURY PROCEEDINGS
      CONCERNING DONALD J. TRUMP AND THE TRUMP ORGANIZATION

       Pursuant to Local Criminal Rules 57.6 and 6.1, CBS Broadcasting Inc. o/b/o CBS News,

American Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Bloomberg

L.P., Cable News Network, Inc., Dow Jones & Company, Inc., publisher of The Wall Street

Journal, The E.W. Scripps Company, Gannett Co., Inc., Gray Media Group, Inc., Los Angeles

Times Communications LLC, National Public Radio, Inc., NBCUniversal Media, LLC d/b/a

NBC News, The New York Times Company, POLITICO LLC, Pro Publica, Inc., and WP

Company LLC, d/b/a The Washington Post (together, the “Press Coalition”) respectfully move

the Court for access to certain judicial records pertaining to the grand jury subpoena issued to the

Custodian of Records for the Office of Donald J. Trump on May 11, 2022. Specifically, the

Press Coalition seeks access to all motions, memoranda, exhibits, opinions, orders, hearings,

hearing transcripts, and other judicial records related to the Government’s request to hold former

President Trump or his representatives in contempt with regard to the response to that subpoena.

       The Press Coalition recognizes that Federal Rule of Criminal Procedure 6(e) ordinarily

restricts the disclosure of “a matter occurring before the grand jury,” and that Local Criminal

Rule 6.1 provides for the filing under seal of all motions and associated papers and orders
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prepared “in connection with a grand jury subpoena or other matter occurring before a grand

jury[.]” The Local Rule, however, also provides that records of such proceedings “may be made

public by the Court on its own motion or on motion of any person upon a finding that continued

secrecy is not necessary to prevent disclosure of matters occurring before the grand jury[.]”

       The Court, the Government, and the subject of these grand jury proceedings – former

President Trump – all have acknowledged the existence of this extraordinary grand jury

proceeding and this particular subpoena. The Government, the former President, and the courts

have discussed the subpoena in detail in public court records, and the Government’s contempt

motion has been the subject of significant news reporting, including by members of this Press

Coalition. Under the unique, unprecedented, and historic circumstances of this case, “continued

secrecy is not necessary to prevent disclosure of matters occurring before the grand jury[.]”

Moreover, transparency is essential to maintaining public confidence in our system of justice

when the Government calls into serious question the lawfulness of a former President’s conduct.

       The Court should therefore provide access to these judicial records with only those

narrow redactions necessary to shield whatever factual material, if any, might still require

protection from disclosure under Federal Criminal Rule 6(e) and Local Criminal Rule 6.1.

       For the reasons set forth more fully in the accompanying Memorandum of Points and

Authorities, the Press Coalition respectfully requests that the Court grant this application and

unseal the requested materials. The Press Coalition further requests a hearing on this application.

       Dated: December 15, 2022            Respectfully submitted,

                                           BALLARD SPAHR LLP

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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


IN RE PRESS APPLICATION FOR ACCESS    Case No. _________
TO JUDICIAL RECORDS AND
PROCEEDINGS ANCILLARY TO              Chief Judge Beryl A. Howell
CERTAIN GRAND JURY PROCEEDINGS
CONCERNING DONALD J. TRUMP            Hearing Requested
AND THE TRUMP ORGANIZATION




       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PRESS APPLICATION FOR ACCESS TO JUDICIAL RECORDS AND PROCEEDINGS
    ANCILLARY TO CERTAIN GRAND JURY PROCEEDINGS CONCERNING
           DONALD J. TRUMP AND THE TRUMP ORGANIZATION




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                                PRELIMINARY STATEMENT

       In this Application, several news organizations (the “Press Coalition”) seek access to

judicial records concerning the Government’s extraordinary request that this Court hold former

President Donald J. Trump and/or his representatives in contempt for their responses to a grand

jury subpoena seeking materials bearing classification markings that Trump retained after

leaving the White House.

       These judicial records take on even greater importance as Trump is now the subject of a

Special Counsel investigation and, at the same time, has declared his intention to run for

President again in 2024. The public interest in the Department of Justice’s rationale in seeking

to hold the former President in contempt, and the Court’s careful consideration of this issue – at

the very moment Trump asks to return to the White House – could not be greater.

       Moreover, there is no longer any reason to keep these records secret. It is already a

matter of record, set out in public court files and elsewhere, that Trump received the grand jury

subpoena (the “Subpoena”) in May 2022, months before the FBI executed a search warrant at

Mar-a-Lago. With this Court’s express permission, the public has seen the Subpoena itself, a

letter concerning the Subpoena that the Justice Department sent to Trump’s counsel, and a

certification signed by the Custodian of Records for Trump’s Office describing the initial search

for records responsive to the Subpoena. See Order, In re Application of USA for Order Pursuant

to Fed. R. Crim. P. 6(E)(3)(E)(I) for Limited Disclosure of Matter Occurring Before a Grand

Jury, No. 22-GJ-37 (D.D.C. Aug. 29, 2022) (Howell, C.J.) at 2 (authorizing the Government “to

discuss” the Subpoena “as well as any correspondence or communications directly flowing from

that [S]ubpoena” in “filings and at any hearing” in connection with Trump’s collateral litigation

over the Mar-a-Lago search).
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       Last week, the Court denied the press and public access to a hearing on the Government’s

contempt motion. The Press Coalition now seeks to unseal a transcript of that hearing, any other

hearing the Court has held on the contempt issue, the Government’s contempt motion and any

prior motion to compel, any briefing on those motions and all exhibits thereto, and any opinions

or orders the Court has issued regarding that motion or the contempt issue generally, and

respectfully requests an opportunity to be heard in advance of future sealed proceedings. This

request is expressly authorized under Local Criminal Rule 6.1 and the controlling case law of

this Circuit, which holds that “when once-secret grand jury material becomes sufficiently widely

known, it may lose its character as Rule 6(e) material.” In re Grand Jury Proceedings (Miller),

493 F.3d 152, 154 (D.C. Cir. 2007) (citation and internal marks omitted).

       This Court has discretion under Local Criminal Rule 6.1 to unseal the requested records

“upon a finding that continued secrecy is not necessary to prevent disclosure of matters occurring

before the grand jury.” L. Crim. R. 6.1. And “where the Rules authorize [courts] to do so,

[courts] may – and should – release any information so long as it does not reveal the ‘identities

of witnesses or jurors, the substance of testimony’ as well as actual transcripts, ‘the strategy or

direction of the investigation, the deliberations or questions of jurors, and the like.’” Order, In re

Grand Jury Subpoena, No. 18-3071 (D.C. Cir. Apr. 23, 2019) (per curiam) at 1 (emphasis added)

(quoting In re Motions of Dow Jones & Co., 142 F.3d 496, 499-500 (D.C. Cir. 1998)).

       Given the profound interest in these judicial records, the extensive public judicial

disclosure of the events at issue, and the gravity of a request by the Government to hold a former

President and current presidential candidate in contempt, the Press Coalition respectfully

requests that the Court unseal redacted versions of any judicial records related to this contempt

dispute.




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                           RELEVANT PUBLIC BACKGROUND

       A.      The FBI’s Search of Mar-A-Lago

       On the morning of August 9, 2022, former President Trump announced to the world that

his Florida home, Mar-a-Lago, had been “raided, and occupied by a large group of FBI agents.”

See, e.g., Caroline Linton, Trump says Mar-a-Lago was “raided” by FBI, CBS News (Aug. 9,

2022), https://www.cbsnews.com/news/donald-trump-mar-a-lago-fbi-search-warrant-raid/.

Within days, the press began reporting that the search related to a grand jury subpoena that

Trump had received in the spring of 2022. See, e.g., John Santucci et al., Trump received

subpoena in spring for documents not turned over: Sources, ABC News (Aug. 11, 2022),

https://abcnews.go.com/Politics/donald-trump-received-subpoena-spring-documents-turned-

investigators/story?id=88252177; Devlin Barrett et al., FBI searched Trump’s home to look for

nuclear documents and other items, sources say, The Washington Post (Aug. 12, 2022),

https://www.washingtonpost.com/national-security/2022/08/11/garland-trump-mar-a-lago/.

       Also within days, the press and public began seeking access in the U.S. District Court for

the Southern District of Florida to records related to the Government’s search warrant. On

August 22, 2022, the U.S. Magistrate Judge who had approved the warrant granted a motion,

filed by the undersigned on behalf of many of the news organizations in this Coalition, to release

a redacted copy of the search warrant affidavit. In re Sealed Search Warrant, --- F. Supp. 3d ---,

2022 WL 3582450 (S.D. Fla. Aug. 22, 2022). In granting access to the warrant materials, the

court recognized the “foundational principle of American law that judicial proceedings should be

open to the public.” Id. at *2. The court also acknowledged the line of cases, which largely

“arise in the grand jury setting,” that address the Government’s interests in secrecy while

investigations remain pending, id. at *3, but the court concluded that, “given the intense public




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and historical interest in an unprecedented search of a former President’s residence, the

Government has not yet shown that [its] concerns are sufficient to justify sealing,” id. at *5.

       B.      Trump Discloses the Subpoena

       Trump has continued to reveal information about the investigation in proceeding after

proceeding. On August 22, 2022, as part of his request for the appointment of a Special Master

to oversee the Government’s use of the materials it seized from Mar-a-Lago, Trump disclosed in

a public court filing that he had accepted service of the Subpoena for “documents bearing

classification markings” on May 11, 2022. See Mot. for Jud. Oversight & Additional Relief,

Trump v. United States, No. 9:22-cv-81294-AMC (S.D. Fla. Aug. 22, 2022) (ECF No. 1) at 5.

Trump claimed that he had personally “determined that a search for documents bearing

classification markings should be conducted – even if the marked documents had been

declassified – and his staff conducted a diligent search of the boxes that had been moved from

the White House to Florida.” Id. Trump further claimed that, through counsel, he had “invited

the FBI to come to Mar-a-Lago to retrieve responsive documents.” Id. Trump’s filing provided

additional details about his discussions with the Department of Justice and the FBI about the

Subpoena, and it also revealed that “[a]t President Trump’s direction,” the Custodian of Records

for the Trump Organization accepted service of another grand jury subpoena “seeking footage

from surveillance cameras at Mar-a-Lago.” Id. at 5-6.

       C.      The Government Officially Acknowledges and Discusses the Subpoena

       As Trump has publicly revealed information about the investigation, the Government has

responded by revealing even more information. In opposing Trump’s request for a Special

Master on August 30, 2022, the Government divulged that it had sought and received permission

from this Court “to disclose . . . these grand jury subpoenas and material discussed therein.” See




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United States’ Resp. to Mot. for Jud. Oversight & Additional Relief (“U.S. Resp.”), Trump v.

United States, No. 22-cv-81294-AMC (S.D. Fla. Aug. 30, 2022) (ECF No. 48) at 7 n.2. The

Government explained that the grand jury issued the Subpoena after the National Archives and

Records Administration made a referral to the Justice Department having located “evidence that

classified records had been stored at [Mar-a-Lago] until mid-January 2022.” Id. at 5. The

Government further revealed that the Department of Justice subsequently sought access to

certain boxes of records at Mar-a-Lago and obtained such access in May 2022. Id. at 6-7. That

disclosure also included the information that in the same month, the Department of Justice

obtained the Subpoena, which “was directed to the custodian of records for the Office of Donald

J. Trump” and sought “[a]ny and all documents or writings in the custody or control of Donald J.

Trump and/or the Office of Donald J. Trump bearing classification markings.” Id. at 7-8.

       In fact, the Government did not just describe the grand jury’s Subpoena. It placed a copy

of the Subpoena itself – marked “Subpoena #GJ2022042790054” and labeled “SUBPOENA TO

TESTIFY BEFORE A GRAND JURY” – on the public docket as an attachment to its response:




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Id. Att. C (ECF No. 48-1) at 11. The Subpoena was signed by Jay I. Bratt, Chief of the Justice

Department’s Counterintelligence and Export Control Section. Id. The Government also

docketed a letter that Section Chief Bratt sent to Trump’s counsel confirming that the custodian

of Trump’s records could “comply with the [S]ubpoena by providing any responsive documents

to the FBI at the place of their location” and by “provid[ing] a sworn certification that the

documents represent all responsive records.” Id. Att. D (ECF No. 48-1) at 14.

       The Government’s filing further described its negotiations with Trump over the deadline

for responding to the Subpoena and how “three FBI agents and a DOJ attorney” traveled to Mar-

a-Lago to retrieve the responsive documents. See U.S. Resp. at 8. The Government revealed

that Trump’s custodian of records, later reported to be attorney Christina Bobb, “produced and

provided a signed certification letter” that described the search conducted for responsive records,

see id. at 9, and the Government placed a copy of that certification letter on the public docket as

well, see id. Att. E (ECF No. 48-1) at 16. The Government then detailed what Trump’s counsel

represented as to where the responsive records had been located. See U.S. Resp. at 9.

       The Government subsequently described the records that Trump had produced in

response to the Subpoena, namely “38 unique documents bearing classification markings,

including 5 documents marked as CONFIDENTIAL, 16 documents marked as SECRET, and 17

documents marked as TOP SECRET,” and it noted that “FBI agents observed markings

reflecting sensitive compartments and dissemination controls.” Id. at 10. The Government then

stated that it “uncovered multiple sources of evidence indicating that the response to the

[Subpoena] was incomplete and that classified documents remained at the Premises,

notwithstanding the sworn certification made to the government on June 3.” Id. In a subsequent

filing, the Government confirmed that it “is investigating the adequacy of the response” to the




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Subpoena. See United States’ Mot. for Partial Stay Pending Appeal, Trump v. United States, No.

22-cv-81294-AMC (S.D. Fla. Sept. 8, 2022) (ECF No. 69) at 9.

       D.      More Information about the Subpoena Comes to Light

       In the months after the Government officially acknowledged the Subpoena, the public

continued to learn about how Trump and his representatives responded to it:

       •       On October 12, 2022, press reports revealed that after Trump received the

Subpoena, he “told people to move boxes to his residence at [Mar-a-Lago],” and that this

account “was corroborated by the security-camera footage.” See Devlin Barrett & Josh Dawsey,

Trump worker told FBI about moving Mar-a-Lago boxes on ex-president’s orders, The

Washington Post (Oct. 12, 2022), https://www.washingtonpost.com/national-

security/2022/10/12/maralago-witness-trump-boxes-moved/.

       •       On October 19, 2022, the public learned that Trump was considering “whether to

allow federal agents to return to [Mar-a-Lago], and potentially conduct a supervised search, to

satisfy the Justice Department’s demands that all sensitive government documents are returned,”

after the Government “made clear that it believes Trump failed to comply with [the Subpoena]

ordering the return of all documents marked as classified and that more government records

remain missing.” See Sara Murray et al., EXCLUSIVE: Trump considers allowing federal

investigators to search Mar-a-Lago again, CNN (Oct. 19, 2022),

https://www.cnn.com/2022/10/19/politics/trump-mar-a-lago-second-search/index.html.

       •       On November 18, 2022, Attorney General Merrick B. Garland appointed John L.

“Jack” Smith to serve as Special Counsel for the Department of Justice, and in that capacity “to

conduct the ongoing investigation referenced and described in” the Government’s response to

Trump’s request for a Special Master, “as well as any matters that arose or may arise directly




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from this investigation.” See Off. of the Att’y Gen., Order No. 5559-2022, Appointment of John

L. Smith as Special Counsel (Nov. 18, 2022), https://www.justice.gov/opa/press-

release/file/1552896/download. Special Counsel Smith thus took charge of the investigation into

‘classified documents and other presidential records, as well as the possible obstruction of that

investigation.’” See Kathryn Watson & Robert Legare, Garland names special counsel to

oversee Trump documents case, aspects of Jan. 6 probe, CBS News (Nov. 18, 2022),

https://www.cbsnews.com/news/special-counsel-trump-investigations-merrick-garland/. The

Government’s request that this Court “hold Trump in contempt for failing to comply with a

subpoena ordering him to turn over records marked classified” is one of “a series of high-profile

moves” that Special Counsel Smith has made “since he was put in charge.” See Katelyn Polantz

et al., Special Counsel Smith speeds ahead on criminal probes surrounding Trump, CNN (Dec.

11, 2022), https://www.cnn.com/2022/12/11/politics/jack-smith-special-counsel-high-profile-

moves-trump-criminal-investigations/index.html.

       •       On December 7, 2022, press organizations reported that Trump’s lawyers had

hired an “outside team” to search his properties for additional items with classified markings,

and that this team had located “at least two items marked classified” at “a storage unit in West

Palm Beach” that was “used by the former president.” See Jacqueline Alemany et al., Items with

classified markings found at Trump storage unit in Florida, The Washington Post (Dec. 7, 2022),

https://www.washingtonpost.com/nation/2022/12/07/trump-tower-bedminster-records-search/.

These supplemental searches took place “after Trump’s legal team was pressed by a federal

judge to attest that it had fully complied with [the Subpoena] to turn over all materials bearing

classified markings.” Id. The dispute was part “a lengthy and fierce battle between Trump’s

attorneys and the Justice Department,” over “what prosecutors view as a long-standing failure to




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fully comply with the [Subpoena] by Trump’s team.” The details of this “battle” were kept

secret, however, as “[m]uch of the legal wrangling remains under seal.” Id.

        E.      The December 9, 2022 Hearing

        On Thursday, December 8, 2022, the public learned that the Government had “urged”

this Court “to hold Trump’s office in contempt” over its response to the Subpoena, and that a

hearing on that request was set for Friday, December 9. See Spencer S. Hsu et al., Justice

Department asks judge to hold Trump team in contempt over Mar-a-Lago case, Washington Post

(Dec. 8, 2022), https://www.washingtonpost.com/nation/2022/12/08/trump-contempt-mar-a-

lago-records/. This extraordinary request was motivated by the Government’s desire for “an

unequivocal sworn written assurance from Trump’s team that all [responsive] documents have

been returned,” and the Government asked this Court “to find Trump’s side in contempt as long

as none of his advisers are willing to assume the role of custodian of records responsible for a

complete answer to the question.” Id.

        On December 9, undersigned counsel made a written request to this Court asking that the

press and public be permitted to attend this hearing on the grounds that, “[g]iven the extensive

briefing on the public record about this particular [S]ubpoena, and significant news reporting as

well on the same subject, Rule 6 no longer requires the Court to hold [the] hearing under seal.” 1

The Court held the hearing under seal and subsequently informed undersigned counsel that “the

Court held a hearing regarding an ongoing and sealed grand jury matter. This matter remains

under seal, pursuant to Federal Rule of Criminal Procedure 6(e) and Local Criminal Rule 6.1.”

        In light of this denial of access to the hearing, the Press Coalition now respectfully seeks

access to a transcript of that hearing and all other hearings this Court has held or will hold



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       A copy of the undersigned counsel’s letter to the Court is attached as Exhibit A.


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relating to the Government’s request that Trump or his representatives be held in contempt, as

well as all motions, briefs, exhibits, and other judicial records relating to this important issue.

                                           ARGUMENT

       Given that the Subpoena targeted the former President, as well as the massive amount of

official disclosure, high-profile collateral litigation, and public reporting surrounding this entire

investigation, this request for contempt is unlike any other in memory. The Government seeks to

hold a former President, a current presidential candidate, or his representatives in contempt for

how they have responded to that unusual Subpoena. It is thus beyond dispute that the public has

a powerful interest in understanding the Government’s rationale for making such an exceptional

request, the former President’s arguments in opposition, and the Court’s process in adjudicating

this weighty issue. Indeed, the matters occurring before this Court go to the very heart of the

rule of law in our democracy.

       In these unique circumstances, federal grand jury secrecy rules do not stand in the way of

providing the public with this important information. Cf. Butterworth v. Smith, 494 U.S. 624,

630 (1990) (“the invocation of grand jury interests is not some talisman that dissolves all

constitutional protections”) (internal marks omitted). Because this is a matter ancillary to a

grand jury proceeding, the justification for sealing extends only to those discrete portions of the

record that would reveal remaining secrets about matters occurring before the grand jury. The

extensive public disclosures about the Subpoena have significantly narrowed the isolated bits of

information that should remain sealed. The Court therefore can, and should, unseal the requested




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records with only those redactions essential to protect the information, if any, that still remains

secret before the grand jury.2

I.       THE COURT HAS DISCRETION UNDER LOCAL RULE 6.1 TO UNSEAL
         INFORMATION IN ANCILLARY PROCEEDINGS THAT WOULD NOT
         REVEAL ACTIVITIES “OCCURRING BEFORE THE GRAND JURY”

         As this Court has noted, Fed. R. Crim. P. 6(e)(6) “requires that ‘[r]ecords, orders, and

subpoenas related to grand-jury proceedings . . . be kept under seal’ only ‘to the extent and as

long as necessary to prevent the unauthorized disclosure of a matter occurring before a grand

jury.’” In re Capitol Breach Grand Jury Investigations, 339 F.R.D. 1, 7 n.5 (D.D.C. 2021)

(Howell, C.J.) (quoting Fed. R. Crim. P. 6(e)(6) (noting that filings “initially placed under seal”

were made public after this Court “direct[ed] the government to explain” its rationale for secrecy

and the government provided no such rationale)). As such, “judicial proceedings ancillary to a

grand jury proceeding, which may include a motion ‘to quash a subpoena, or to compel

testimony, or to immunize a witness,’ as well as the attendant records, shall be shielded from the

public to the extent necessary to prevent disclosure of matters occurring before a grand jury.” In

re Grand Jury Subpoenas, 2019 U.S. Dist. LEXIS 88421, at *5 (D.D.C. Apr. 1, 2019) (Howell,

C.J.) (citing Dow Jones, 142 F.3d at 502; Fed. R. Crim. P. 6(e)(5), (6); L. Crim. R. 6.1)

(emphasis added). Local Rule 6.1 therefore provides that unsealing may occur when it is no

longer necessary to preserve the secrecy of matters before the grand jury. Put differently, where

the need for secrecy ends as to the identity of grand jury witnesses or their substantive testimony,

the public’s right to additional information begins. Rule 6.1 thus “may be implemented by

releasing redacted documents.” 2019 U.S. Dist. LEXIS 88421, at *5, 14 (“At bottom, Local

Criminal Rule 6.1 provides the Reporters Committee with access to the briefs and transcripts,

     2
     Just this week, in fact, a New York state trial court unsealed (with redactions) an order
revealing that the Trump Organization was held in criminal contempt in 2021 for failing to
comply with four New York grand jury subpoenas. A copy of this order is attached as Exhibit B.


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with any matters occurring before the grand jury redacted.”); Order, In re Grand Jury Subpoena,

No. 18-3071 (D.C. Cir. June 7, 2019) (per curiam) (“order[ing] the parties to publicly file the

proposed redacted versions of their briefs and the transcript (with certain exceptions)”); see also

Dow Jones, 142 F.3d at 505 (remanding for consideration of possible redactions).

II.       THE COURT SHOULD EXERCISE ITS DISCRETION TO UNSEAL JUDICIAL
          RECORDS THAT DO NOT REVEAL SECRET GRAND JURY INFORMATION

          “[T]he power to punish for contempts is inherent in all courts,” Chambers v. NASCO,

Inc., 501 U.S. 32, 44 (1991), and as the Supreme Court has recognized, “[b]ecause inherent

powers are shielded from direct democratic controls, they must be exercised with restraint and

discretion.” Roadway Express v. Piper, 447 U.S. 752, 764 (1980). The restraint and discretion

this Court exercises is of the utmost concern here, where the Department of Justice has asked the

Court to hold the current President’s political rival in contempt. In such a complex situation, one

guiding rule of transparency seems especially apt: “the appearance of justice can best be

provided by allowing people to observe it.” Richmond Newspapers v. Virginia, 448 U.S. 555,

572 (1980).3

          In light of the powerful and justifiable public interest in this contempt dispute, and the

already extensive official disclosures about this issue, the public would greatly benefit from

understanding the basis for the motion for contempt, the arguments for and against that motion,

and this Court’s process of adjudicating that motion. Release of the requested records, even with

the redaction of any Rule 6(e) information that would disclose still-secret details about

proceedings before the grand jury, would shed much needed light on this ancillary matter. Dow

Jones, 142 F.3d at 500. The Press Coalition therefore respectfully requests that the Court enter

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     Indeed, it was a secret contempt proceeding which led the Supreme Court to observe that
“[w]ithout publicity, all other checks are insufficient: in comparison of publicity, all other checks
are of small account.” In re Oliver, 333 U.S. 257, 271 (1948) (quoting 1 J. Bentham, Rationale
of Judicial Evidence 524 (1827)).


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an order here that will facilitate the disclosure of any dockets, court orders or opinions, legal

briefing, or argument transcripts ancillary to the grand jury described herein, including such

materials litigating the Government’s motion to hold in contempt former President Trump and/or

his representatives. See, e.g., In re Grand Jury Subpoena, 2019 U.S. Dist. LEXIS 88421, at *16.

                                          CONCLUSION

       For all of the foregoing reasons, Press Coalition respectfully requests that this Court grant

the application, unseal redacted public versions of the materials ancillary to grand jury

proceedings described herein, and provide the Press Coalition notice and an opportunity to be

heard in advance of future sealed proceedings on this important issue.

       Dated: December 15, 2022             Respectfully submitted,

                                            BALLARD SPAHR LLP

                                            /s/ Charles D. Tobin
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                                            Maxwell S. Mishkin (#1031356)
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                                            Counsel for the Press Coalition




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of December 2022, I caused true and correct copies

of the foregoing to be served by email and U.S. Mail First Class on the following:



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                                             /s/ Charles D. Tobin
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               Exhibit A
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December 9, 2022

Via Email

The Honorable Beryl A. Howell
Chief Judge, U.S. District Court for the District of Columbia
333 Constitution Avenue NW
Washington, DC 200001
howell_chambers@dcd.uscourts.gov

        Re:      Press and Public Access to December 9, 2022 Hearing

Dear Chief Judge Howell:

         This firm represents a coalition of press organizations that respectfully request access
to a hearing, which we understand is scheduled to be held before Your Honor this afternoon,
on the Department of Justice’s motion “to hold Donald Trump in contempt of court for
failing to comply with a subpoena issued this summer ordering the former president to turn
over records marked classified.”1

        Former President Trump himself disclosed the existence of the grand jury subpoena
at issue in his motion seeking appointment of a Special Master concerning the execution of a
federal search warrant at Mar-a-Lago. See Mot. for Judicial Oversight & Additional Relief
at 5, Trump v. United States, No. 9:22-cv-81294-AMC (S.D. Fla. Aug. 22, 2022), ECF 1. In
its response to that motion, the Government not only confirmed the existence of the
subpoena but also released a copy of the subpoena itself and related correspondence on the
public docket. See United States’ Resp. to Mot. for Judicial Oversight & Additional Relief
at 7-12, Trump v. United States, No. 9:22-cv-81294-AMC (S.D. Fla. Aug. 22, 2022), ECF 48
(discussing the subpoena); id. Exs. C (copy of subpoena); D (letter from Department of
Justice to M. Evan Corcoran, Esq.); and E (certification of custodian of record), ECF 48-1 at
10-16. See also Order, In re Application of the United States, No. 22-GJ-37 (D.D.C. Sept. 7,

1
 See Katelyn Polantz et al., Justice Department seeking to hold Trump in contempt over classified documents,
CNN (Dec. 9, 2022), https://www.cnn.com/2022/12/08/politics/doj-trump-contempt-classified-
documents/index.html; see also Spencer S. Hsu et al., Justice Department asks judge to hold Trump team in
contempt over Mar-a-Lago case, The Washington Post (Dec. 8, 2022),
https://www.washingtonpost.com/nation/2022/12/08/trump-contempt-mar-a-lago-records/
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2022) (Howell, C.J.) (authorizing the Government to disclose “the grand jury subpoenas” at
issue “as well as any correspondence or communications directly flowing from them”).

        As the D.C. Circuit has acknowledged, “when once-secret grand jury material
becomes sufficiently widely known, it may lose its character as Rule 6(e) material.” In re
Grand Jury Proceedings (Miller), 493 F.3d 152, 154 (D.C. Cir. 2007). Given the extensive
briefing on the public record about this particular subpoena, and significant news reporting
as well on the same subject, Rule 6 no longer requires the Court to hold this afternoon’s
hearing under seal. See In re Grand Jury Subpoenas, 2019 U.S. Dist. LEXIS 88421, at *5
(D.D.C. Apr. 1, 2019) (“[J]udicial proceedings ancillary to a grand jury proceeding, . . . as
well as the attendant records, shall be shielded from the public to the extent necessary to
prevent disclosure of matters occurring before a grand jury.”) (citing In re Motions of Dow
Jones & Co., 142 F.3d 496, 502 (D.C. Cir. 1998); Fed. R. Crim. P. 6(e)(5), (6); L. Crim. R.
6.1) (emphasis added)). To the contrary, the First Amendment and common law rights of
access to judicial proceedings oblige the Court to provide public access to the hearing and
seal only those narrow portions that implicate still-secret grand jury material. See Craig v.
Harney, 331 U.S. 367, 374 (1947) (“What transpires in the court room is public property.”).

       For the reasons above, the Court should grant the press and public access to the
hearing set for this afternoon on the Government’s motion for contempt.

                                             Respectfully submitted,

                                             BALLARD SPAHR LLP


                                             Charles D. Tobin (#455593)
                                             Maxwell S. Mishkin (#1031356)
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                Exhibit B
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THE SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
 PEOPLE OF THE STATE OF NEW YORK
                                                                           DECISIONAND ORDER
                                                         Petitioner,        FILED UNDERSEAL
 -against

                                                                       Investigation No




                                                     Respondent




HON JUAN M. MERCHAN, J.S.C


         By Orderto Show Cause, the New York County District Attorney's Office (hereinafterthe


DistrictAttorney or the People) initiated a proceedingpursuant to           750A (3) and 751 ofthe
Judiciary Law accusing                                                                               of



Criminal Contempt for willfully disobeying four Grand Jury subpoenas duces tecum and three Court
orders    A trial was conducted    on October 7 ,2021.

                                               Background


         The District Attorney issued Grand Jury subpoenas duces tecum ( the subpoenas ) to


                      on March 22,2021, April 23,2021, May 21,2021, andJune 7,2021. The
District Attorney, alleging that                             had failed to comply with the subpoenas ,
filed a motion to compel on July 21,2021. As a result,this Court issued an Interim Order on July
30,2021, to compel compliance by August 9,2021. The Interim Order was modified on August 6
2021. This Court issued additional orders first on August 10,2021, to compel compliance by
August 17,2021,and again on August 24,2021,to compel compliance by August 25,2021.

         Itis thesefour GrandJury Subpoenasandthree CourtOrdersthat are the subjectofthese


proceedings
          .




 The Order to Show Cause was endorsed by the Court on September 7 , 2021




                                                    1
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                                     The October 20, 2020 Subpoena


          Atthe commencement of the trial on October 7, 2021, the People asked this Courtto
consider evidenceof                               s failure to comply with a Grand Jury subpoena duces
tecumissuedon October 20 ,             In that instance, the District Attorney also initiated a proceeding
to compel compliance. The Parties eventually enteredinto a Stipulation,which was So Ordered by
this Court,on December 18, 2020, requiring                                       produce all documents

responsiveto that subpoena pursuant to a detailed schedule. Italso granted the District Attorney
the right to demand that a custodian from                                testify concerning


                  record retention practices , the searches conducted for records, and the efforts made
to comply or, in lieu of such testimony , to demand a written certification .
          At trial, the Peoplearguedthat evidenceof that past noncomplianceis relevantto this

proceedingbecause: (1) it establishes that                               was alreadyrepresentedby

Counselwhenit was served with the four subpoenas and three Court Orders. Thus, the delay could
not be attributed to the absence of Counsel or time taken to retain counsel; (2) it demonstrates that
                        had subpoena production protocols in place as part of its standard
operations and procedures; (3) it demonstrates that                       was aware of, and

knew,the possible consequences of failing to comply with the Court's mandates; and (4) the prior
conduct demonstrates a pattern of delay and noncompliance.
          This Court determined that the litigation surrounding the October 20,2020,subpoena is
relevant,reasoning the Parties prior knowledge of the Court's policies,proceedings,and
expectations provide context to the instant dispute. More importantly, the circumstances

surrounding that litigation would assist the Court in assessing whether

willfully disobeyed the Grand Jury Subpoenas and          Court Orders herein.

2
    This subpoena is not includedunderCount One of the People'sOrderto Show Cause.



                                                      2
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            October 30, 2020, the Parties agreed to rolling productions of documents responsive to


theOctober20                 Their agreement was memorialized ina November2,2020 email where

the Parties agreed to substantive limitations and time extensions for productions of the items
requestedin the subpoena.                                  agreed to provide: (1) Items 2 and 5 by
November9,2020, (2) Item3 by November13,2020, (3) Item 1 by November20, 2020,and (4)
Item 4 by November 27, 2020.

        The People contended that                                failedto abideby the terms of the


                                                                             records in response to Items
agreement. For example, although

2 and 5 , the People claimed the production failed to include key portions

                      On November 18, 2020,                                 provided a subsequent


production in response to Item 2- nine days past the return date. In another example, on
December 11, 2020 ,                              providedrecords responsiveto Item 1. That


productionincludedrecords                                 had previously withheld , as it claimed the

records related to conduct beyond the statute of limitations . Ina December 13, 2020 , email, the

People informed counsel for                               that the production was deficient because it

failed to include records outlined in the agreement and because it failed to explain whether the
additional records were being withheld under a claim of privilege . The People eventually filed a
motion to compel on December 15, 2020.
        Ina Stipulation and Order datedDecember18, 2020, this Courtdirected


               to comply with the subpoena. Specifically                         was ordered to produce




3
 See Respondent's Binder of ExhibitsAccompanying Memorandum of Law in Opposition to the DistrictAttorney's
Requestfor a Finding of Contempt and Imposition of Sanctions at Exhibit B, November 2, 2020 email.
 See Respondent's Binder of Exhibits Accompanying Memorandum of Law in Opposition to the District Attorney's
Requestfor a Finding of Contempt and Imposition of Sanctions at Exhibit B, November 2, 2020 email.
 See Respondent's Binder of Exhibits Accompanying Memorandum of Law in Opposition to the District Attorney's
Request for a Finding of Contempt and Imposition of Sanctions at Exhibit B, November 2, 2020 email.



                                                      3
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items 2 , 3 , and 4 by January 8 , 2021, item 1 by January 21, 2021, and any records withheld pursuant


to a claim ofprivilege by January 27, 2021. The Order also required

produce the custodians, who conductedthe searches for responsive documents to testify beforethe

Court concerningtheir recordretention practices and allsteps taken to comply
          Between the issuance of the Court's Order on December 18, 2020, and January 28, 2021,

                         produced 9,000 documents 8,810 more documents than were produced prior

to the Court's intervention. Nonetheless , those productions failed to meet the deadlines outlined in
the Stipulation and Order .

          Atan ensuinghearingconductedon January 28, 2021,                                       produced


                                    for                             the person whom


                 deemedmostknowledgeableof the company'srecordkeepingpractices.

testifiedthat                               had successfullyrespondedto countlesssubpoenas in the



past, includinginquiriesfrom

                                                                                           He indicated that



                                                                                                         for
heworkedinternallywith



yearsanddescribedthe processesthey employto successfullycomplywithsubpoenarequests.8


           Following the hearing                               notified the District Attorney that it

possessed additional documents responsive to Item 1. The records were produced on February 8,

2021, and February 19, 2021. The latter production coming nearly one month past the January 21,

2021 deadline. A privilege log pertaining to the October 20,2020 subpoena was turned over the day
after                testified two days past the Court ordered deadline. On February 22,2021,


6
    See DistrictAttorneyExhibit3 , December18, 2020, Stipulationand Order.
    SeeDistrictAttorneyExhibit4 , HearingJanuary28, 2021, page4 line 14 through 15 and line 22through24.
7



8
    See DistrictAttorney Exhibit4 , HearingJanuary28, 2021, page 18 line 6 through8 , page25 line 17throughpage
26line16
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                          produced a revised privilege log, in addition to documents that were previously


withheld pursuant to a claim of privilege.

          Followingthese productions, the People filed a letter on March 1 , 2021, accusing


of misleadingthe Court. The People allegedthat                          testified falsely when he represented


that production was complete , as documents related to                               remainedoutstanding.


Specifically, at the hearing, the Peopleasked                          did                              produce




allresponsive documents by the deadlines set forth inthe October 30,2020 agreement, to which
               replied,    know we've produced all responsive documents to the subpoena,and we
have       believe made good-faith and diligent attempts to produce alldocuments thatwere
responsive        The People maintained                       knew about the outstanding records at the time
he testified because : ( 1 )                              had produced operating agreements and general
ledgerentries for                              previously on November23,2020, (2) the People insisted

on December 24, 2020 , that the search for records include the term                       (3) the witness testified

that                           was the only consultant involved in the projects identified in Item 1,and

( 4) on February 8, 2021,                                 produced to the District Attorney the

                    records, whichit hadalso producedto


approximatelytwo months                    According to the People, the records produced on February8,

2021, were unmistakably responsive to Item 1 of the subpoena, which sought documents pertaining

to the payment of consultants. Notably, the People claimed, the vast majority of the records were
e- mails informing                                               and               oftheir




The People concluded that                      as
                                                                                                   shouldhave




known that the                         documents remained outstanding




9
    SeeDistrictAttorneyExhibit5 , Letterfiled underseal datedMarch1 , 2021.
10 See District Attorney Exhibit 4, Hearing January 28, 2021, page 29 , Lines 4 through 10.
    See DistrictAttorney Exhibit 6, Letter filed underseal dated March 15, 2021
                                                                              .




                                                          5
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           Ina second letter, filed on March 15, 2021, the District Attorney further accused

of having testified falsely . The letter directed the Court's attention to the portion ofthe witness

testimony where he was asked,                          have you and                                  responded to


multiple subpoenas from

                                                                                                         to which



                   , Yes, quite a bit. " Counselfor                                     then asked, Have you ever


had a situation with any of those subpoenas over the last several years , with all of these
where there was a complaint about your diligence or the productions being made to which
           replied, Never         The People surmised                     testified falsely because he was


intimately involved with                                         productions to


and was aware of the litigation that ensued which concerned serious deficiencies with their

                                                                                  had submitted at least four
documentproductions.              The Peoplehighlightedthat


affidavits in the past attesting to his knowledge of the facts and pleadings in connection with the

action brought by                                                  14 In that matter,                           also




brought an order to show cause seeking to compel compliance . According to the People, the

compliance issues in that litigation preceded the compliance issues alleged by the People here by a

matter ofmonths. It was the People's position therefore , that                             was not truthful when he

testified that there had never been a complaint about diligence . Counsel for                            and




                            offered an alternative explanation . Intheir view,                      understood
                                                                                                             the




question was directed at complaints about him personally, rather than in his professional capacity as

                                                      because he had, . .never been sanctioned in




     See District Attorney Exhibit 4, January 28, 2021 Hearing transcript , page 79 line 6 through 16.
12




     See District Attorney Exhibit 7, Letter filed under seal dated March 15, 2021.
     See District Attorney Exhibits 5 and 7 , March 1 and March 15 lettersto Hon. Juan M. Merchan
14




                                                             6
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connection             (with) document productions nor          accused of contemptuous behavior

                  15
(personally) "


           This Courtaddressedthe People's allegationsin a letter on March17, 2021. The Court


indicatedit was perturbedby the accusationsthat                              testified falsely, further observing


that the explanation proffered in his defense was not entirely credible. The Court noted a lthough
the Court is notinclined to make a finding of contempt at this time it will "endeavor to ensure
the integrity of subpoena compliance while "holding all counsel to the highest ethical and
professional standards          The Court further cautioned that it would not look kindly upon any
future dilatory tactics and would not hesitate to impose sanctions when appropriate and
             16

necessary
        .




                                               The FourSubpoenas


           The GrandJury subpoena issued on March 22 , 2021, contained 11categories of records

returnable April 12,               The District Attorney alleged that as ofJuly 21, 2021 , nearly four

months later                                   had failed to comply with at least three categories.

           The subpoena issued on April 23, 2021, contained four categories of records returnable May

14, 2021.18 The District Attorney alleged                                     failed to comply with two


categories as ofJuly 21, 2021.


           The subpoena issued on May 21, 2021, contained four categories of records returnable June

4,            The District Attorney alleged                                 failed to comply fully with at least


two categories as ofJuly 21, 2021.




15 See Respondent Pre- March 22 , 2021 Exhibit A at page 6 .
16 See DistrictAttorney Exhibit 8 , March 17, 2021Ruling.

17See District Attorney Exhibit 9, March 22 , 2021 Grand Jury Subpoena to
18
     See People's Exhibit 10, April 23, 2021 Grand Jury Subpoena to
19
     See People's Exhibit 11, May 21, 21, 2021 Grand Jury Subpoenato




                                                            7
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           The subpoena issued on June 7, 2021, contained seven categories of records returnable June

21,            The District Attorney alleged                                had failedto produce any records


as ofJuly21, 2021.21

                                                                                                         to
               July 21, 2021, the People moved for an Order to Compel


complete productions for the four subpoenas. The People also asked the Court to impose coercive
fines of $60,000 for each day of noncompliance.²         22

                                                                                           responded After

reviewing the Parties submissions , this Court found good cause for the issuance of an Interim

Order to compel on July 30,2021. The Order directed                                            produce all


documents responsive to the subpoenas by August 9, 2021.                                          was also



ordered to produce on August 10, 2021, the custodians who conducted the searches for responsive
documents in order to testify concerning their record retention practices and the steps taken to
comply with the      Order.23 The Order cautioned ,           should the Court find that

                  has not fully complied with the subpoenas or the Court's Orders,it willmake a
determination as to what penalties, sanctions and fines should be applied.
                                                                                    24




           Betweenthe filing of the People's motion to compel on July 21,2021, and the deadline set in
the Court's Interim Order of August 9, 2021,                                     produced over 2,890


documents, totaling over 82,000 pages.25 However,on August 5, 2021, the People filed a letter with
the Court which described                                       continuedfailure to complyfullywith the



subpoenas .




20
     See People'sExhibit12, June 7 , 2021GrandJurySubpoenato
     SeeRespondentExhibitP- 2 , AmendedDANYProductionChart.
     See People's Exhibit 22, July 21, 2021Sealed Application to Compel
22



     See People's Exhibit 23, July 30, 2021Interim Order.
23




     See People'sExhibit23, July 30, 2021InterimOrder
25 See Respondent's O -2 , Defense Response to OTSC dated September 20 , 2021at Page29




                                                          8
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           This Court subsequently modified the Interim Order on August 6 , 2021.


                  was no longer required to produce custodians on August 10, 2021, but the Parties were

ordered to appear and address the Court regarding the status of compliance. The Court noted,

 n otwithstanding                                      s explanations for its failure to comply, it is the opinion

ofthis Courtthatcertain specific itemsshouldhavebeen provided, wellbefore the Motion to

Compel was filed on July 21, 2021. The letter further statedthat
explanations,          do not justify its failure to turn over materials responsive to Items 5 and 8 of the

Grand Jury Subpoena dated March 22, 2021, and Item 2 of the Grand Jury Subpoena dated April 23,

2021. The Court reminded                                          of its obligation to complete productions by

the close of business Monday , August 9,2021. The letter further cautioned , n the absence of full
compliance ora motion to quash, the Court may address                 the parties in a summary contempt
proceeding pursuant to the Judiciary Law for failure to comply fully with this Court's lawful
mandate         The letter noted that the Court's demonstrated restraint should not be misinterpreted

as tolerance ofcontinued failure to comply without consequence.20
           At the status conference on August 10 , 2021, this Court observed, and


                   conceded, that                         had failed to comply with the Court's mandates.27

Notonlyhad                                       failed to attain full compliance with the subpoenas , but it also
disregarded the Court's Interim Order requiring written              confirmation that all responsive documents
had been produced or,in the alternative ,that none had been identified ,for seven separate              categories

ofdocuments
          .                                         failed to provide a single written confirmation , much less
seven. In an email from counsel, delivered the evening before the conference ,no explanation ,

excuse or apology was offered for the absence of the certifications . Instead, ignoring the Court's


     See People's Exhibit 24 , August 6 , 2021Letter from Hon. Juan M. Merchan.
26



27
     See People's Exhibit 27 , August 10, 2021, Transcript at page 14 line 16 through 20 .




                                                             9
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Order , Respondent merely asserted [w hen productions are complete , the Company will issue a
certification     On the record,on August 10,2021,the Court addressed the noncompliance with
counsel who apologized and replied w e will remedy that forthwith                           The Court found
Respondent had violated the Court's Order for its failure               to provide the written confirmations .
         The Court directed the Parties to meet with the Court's Attorneys immediately following the

conference and to review line-by-line and item-by -item the records described in the subpoenas to
determine what remained outstanding             29
                                                     The Court also directed the Parties to meet with the Court
virtually on a biweekly basis to provide updates . Finally ,the Court ordered

to furnish all productions by August 17,
                August17, 2021
                             ,                                      fileda certificationendorsedby


                                                                   The certification attestedto




         tenure with the Company, his familiarity with its record keeping practices ,and his
understanding of the document requests contained in the four subpoenas .                      His certification further
specified   his familiarity with the searches conducted to identify and produce the records that had
been delivered to the District Attorney. The certification asserted that all responsive documents had
been produced and specifically identified items referenced in the subpoenas.³1                    31




         Two days later, the DistrictAttorney identifiedadditionaloutstandingitemsand further


compliance issues. According to the People,                                               productionsfailedto


includedocumentsrelatedto                                                      linkedto                        a




                  employee. The Parties agreed that also missingwere records containing the search

terms                 and                     as wellas an emailfrom an employeenamed



28
   See People's Exhibit 27 , August   10 , 2021 , transcript at page 28 line 6 through line 10.
29 See People's Exhibit 27 , August   10, 2021, transcript at page 14 line 7 through 15.
30 See People's Exhibit 27 , August   10, 2021, transcript at page 11lines 19 through 21.
   See People's Exhibit 31, Signed    Production Certification from



                                                              10
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containingthe term                    Finally, the letter detailed missingrecordsfrom item 1 ofthe June

                                                                        32

7 , 2021subpoenaand item 1(b ) of the April23, 2021subpoena.³                                         was




directed by the Court to address each issue by the close of business Friday, August 20 , 2021.


               August 20 , 2021 via email,                              addressedthe issues raisedby the


                      33
DistrictAttorney.3                           claimed that it had identified records related to



            pertainingto                                       some time back but inadvertently       failed to


sendthem to their eDiscoveryvendor for production. Specifically, Counselstated The People

haveasked why no documentswere produced for                                  as a custodian for the


related document requests. Following yesterday's conference we looked into this issue and
discovered that although the Company's IT department previously searched for these documents,
they inadvertently failed to includethem in the documents that were sent to the eDiscovery vendor.

Thedocuments have now been sent to the vendor for processing and we anticipate will be ready for
production to the People by the end of the day , Monday, August 23, 2021." No further explanation
was provided for this avoidable delay. Respondent also acknowledged the District Attorney had
accurately described missing records containing theterm                        and conceded the term had

not been properly searched. With respect to the missing email from the custodian account of

             Counsel for                             indicated, [w e have been diligently working with

the Company's IT department to determine why this emailwas not produced but we have
confirmedthat other emails inthis email chain have been produced.

           OnAugust 23,2021, the People informed the Court by letter that two sets ofrecords
remainedoutstanding. The records again includedthe                                documentsand the




32 See People'sExhibit32, August 19, 2021Emailfrom ADA Danielsat 4:25 PM.
33
     See RespondentExhibitC - 1 .

34 See People's Exhibit 33, August 20, 2021 Letter to Hon. Juan J. Merchan



                                                        11
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                                                                                                        was
                      The People stated it was their understandingthat


unable to produce those documents due to a "migration issue allegedly caused by the transfer of
information from a prior server to a recently acquired cloud-based server. According to the District
Attorney,                                 required more time     to rerun searches to gauge the scope   ofthe




problem anddeterminehow manyrecords could be missing

           On August 24, 2021, the Court held a status conference . At the conference ,


                  confirmedwhat the District Attorney had reported.


disclosed the possibility that records had not properly migrated when it switched servers in 2020.37

                                further stated it had been under the belief that all documents had properly

migrated. Itclaimed that it was the absence ofthe                      email that prompted the IT department

to question whether the data hadtransferred properly. This migrationissuerequired
                  to rerun its searches to verify whether previous productions were complete . Upon

learning this , the Court directed                                  to provide the District Attorney with a

status report by the close of business Friday, August 27, 2021. The Court further ordered

                           to produce all documents relating to                        by 10 am on August

25,2021, as she was scheduled to testify in the Grand Jury later that day and the People needed
those documents to properly examine her. The Court was unequivocally clear that every document
neededto be produced.
           On August 27, 2021                                    communicatedby email that the scope of the


server migration issue was still undetermined . The email stated, it is impossible for the Company
and its vendor to have completed this analysis by 5:00 pm Friday , August                  Respondent




35 See People's Exhibit 34, August 23, 2021 Letter to Hon. Juan J. Merchan
     See People's Exhibit 34, August 23, 2021 Letter to Hon. Juan J. Merchan.
     See People's Exhibit 35 August 24, 2021 Transcript Page 5 line 8 through 12.
37




                                                           12
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                                                                                                             38


additionally disclosed that it had found an additional 505 documents relating to

                                 indicatedit would forwardthoserecordsto the DistrictAttorneyon



August 28, 2021, that is, three days after                       testimony in the Grand Jury . Respondent


requested untilthe close of business on August          30,2021, to further investigate the migration issue
and
           On the evening of August 30 , 2021, Respondent informed the People that searches were

beingconducted and again expressed its intention to produce non privileged documents including
            1099, and                  bySeptember 1, 2021.40

           Inan August 31,2021 email to the People, Counsel attempted to further explain the
migration issue. The email stated,             rom 2004 until early 2016, the Company's IT department
utilized                              as its serverplatform." At that time,                                    ,
                                                                                                         created



   two types of PST files Active PST files and Archive PST files . According to Counsel Active
PST files are essentially supplemental storage folders which provide more space in an
employee's email account to increase efficiency . Archive PST files are typically created as

procedural backup when , for example ,a user would             receive a new computer and data on their old
computer needed to be moved to their new computer . Counsel explained that in early 2016
                            transitioned from a
                                                                        email server to a cloud -based

                             email platform. Counsel revealed , that migration did not include any Archive

PST files In other words, it did not include certain data from auser's older computer. In 2020,
                                                                                                 41




the Company again transitioned email servers , this time to                   based platform




38 See Respondent'sExhibitM - 1 .
     See Respondent Exhibit M -1 .
39


40
     See Respondent Exhibit Q - 1 .
41 See Respondent's Exhibit Q - 1




                                                          13
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        Accordingto Counsel, the Companydid not initiallyproducethe 2015                                  email



because ithad been deleted , and thus , not in the active mailbox at the time of the 2016 migration .


Counselfurther explained, that when                                    IT departmentconducted its

searches , it failed to include the Archive PST files , where the            email was stored .   Counsel



advised that the Company was addressing the issue by adding all Archive PST files to the total data
set to re-run searches . Counsel also expressed the Company's plan to re-run searches for the
October 2020 and February 2021 subpoenas.43
                                                   Trial




        The trial was conducted on October 7, 2021. The parties          stipulated   to exhibits which
included, among other items : subpoenas , correspondence , motions, orders , and transcripts . Both
Parties presented argument .
                                                 Count
                                                     1




         Count 1 addresses whether                                  willfully disobeyed the Grand Jury

Subpoenas issued to it on March 22,2021, April 23, 2021, May 21,2021, and June 7,2021.

        To find Respondent guilty of criminal contempt, the People are required to prove
Respondent's guilt beyond a reasonable doubt . See, Matter of Gold v. Valentine, 318 N.Y.S.2d 360, 361
     Dept. 1970). More specifically ,the District Attorney is required to prove
               was served with the subpoenas , had knowledge of the Court's mandates and orders ,
and willfully disobeyed them . See, Vacco v. Consalvo, 176 Misc.2d 107, 114 (Bronx Co. Sup . Ct.1998)
The First Circuit has held that , w illfulness almost necessarily has to be proved as an inference
from circumstantial evidence ." See, Goldfine v. United States , 268 F.2d 941 at 945 ( Cir. 1959).

Respondent's opposition papers correctly state that while ,     neither the Judiciary Law nor the case


   See Respondent's Exhibit Q-1
42




43 See Respondent's Exhibit Q-1 .



                                                     14
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law offers a definition ofthe term willful it is best definedas intentional citingEl-                v

Dehdan 114 A.D.3d 4, 15-16 (        Dept.2013) The SecondDepartment has also explained,
                                                 44




knowingly failing to comply with a court order gives rise to an inference of willfulness     which may be
rebutted with evidence of good cause for noncompliance ." See Dalessio v. Kressler, 773 N.Y.S.2d 434
    Dept. 2004) internally citing Ferraro .Ferraro ,272 A.D.2d 510 at 512 ( Dept. 2000

           Here,                           accepted the subpoenas and produced documents

responsive to them . Thus ,whether the subpoenas were properly served is not at issue.
                                                                                               46




           That                          partially complied with the subpoenas     demonstrates that it
understood what it was directed to produce       contrary   to its claims at trial that the subpoenas were
overbroad and vague. In their opposition papers to the Order to Show Cause
                         47




                  acknowledged its obligation to comply and produce all documents in its possession

that were responsive to the subpoenas and Court Orders.48        Following this   Court's intervention
                         produced significant amounts of records expeditiously . Its performance on

those occasions demonstrates that its prior failures were avoidable and therefore inexcusable.

Indeed, although                              complied in part, it acknowledges that it failed to comply

in full.




                                     offerstwo explanationsfor its noncompliance. First, it claims the


return dates ofthe subpoenas were unreasonably short given the scope and breadth of the demands.

Second, it claims the subpoenas were vague , making compliance impossible and rendering the

subpoenas unenforceable .                                    defenses are undermined however, by the

fact that it never sought this Court's intervention to quash, modify or clarify the terms of the



44 See Respondent's O-2, Defense Response to OTSC dated September 20, 2021 at Page24.
46 See Respondent'sExhibit N-2, Memorandumin Oppositionto the People's Order to Show Cause at page 3 and 4.
47 See Respondent's Exhibit N-2 , Memorandum in Opposition to the People's Order to Show Cause at page 8.
   See Respondent's Exhibit N-2, Memorandum in Opposition to the People's Order to Show Cause at page 27.
   See Respondent's Exhibit N-2, Memorandum in Opposition to Order to Show Cause at Page 6 and 28.


                                                      15
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                                                                                     s claim that it believed it was
subpoenas.50 Nor does the record support


permitted to produce documents on a rolling basis. This Court specifically asked the People
whether they had consented to rolling productions . ADA Solomon Shinerock responded , n ot in
the context of these       subpoenas .    We had in the past indicated initially in some of the prior
subpoenas , but we had not discussed rolling productions                  with                           inthe




context of the subpoenas at issuein this proceeding.


               trial, the People acknowledgedthat compliancewith the March22, 2021subpoenacould

haverequired more than the proffered three weeks. Nonetheless,                                                was not




relieved ofits duty either to comply with the subpoenas or seek Court intervention, regardless ofthe
People's expectations . The record is clear that the Company failed to produce responsive
                                                                                                   informedthe
documents without explanation. For example, although


DistrictAttorney's Office that data responsive to the March 22,2021 subpoena was being
unarchived and that its production [would] be delayed by a number of days                           the Organization

did not produce those records until August 13,2021,more than three months                          According to ADA

Daniels,some ofthe records in that production were date stamped April 28,                              This

communication and the ensuing production three months later demonstrates that the Company
withheld records past the March22 subpoena                            date of April 12 and in the process also failed
tomeetthe August 9 deadline imposed by the Court's Interim Order ofJuly 30,2021.
           This Courtis unpersuadedthat the claimedvagueness ofthe subpoenasmade it particularly
difficult for                                     comply. Again, rather than moving to quash for vagueness,


50
                           notseekjudicialinterventionfor thefirst time untilOctober14thwhen it filed a
                                                                                                    the
Motionto Quash in responseto a September30, 2021subpoena. That motionwas madesevendaysafter
instanttrial
           .
     See Trial Transcript starting at page 42 line 25 through page 43 line3 .
51




     See DistrictAttorney Exhibit 16, May 2 , 2021Memorandum from Counselat page 5 .
53 See District Attorney Exhibit 30, Emailfrom Counsel at 8:08 PM.
54

     See Trial Transcript at page 27 , line 6 through line 13.




                                                                 16
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                             made partialproductions, sought clarifications from the People,and

attemptedto negotiatesearch terms. Because                                          endeavoredto comply,it

was obligated to do so fully . However, "for the purpose of fending off a contempt adjudication,
partial or even substantial compliance with a court order is not obedience to it See Vacco at 115

(internally citing Kuriansky v.Azam, 575 N.Y.S.2d 679            Dept. 1991

        There can be no dispute that the deadlines were not met. Respondent's Exhibit P-2 is a
chart which tracks Respondent's document productions . The chart illustrates the following :of the
twenty -four productions responsive to the March 22 subpoena , only four were made by the April 12
return date ;of the eighteen productions        responsive   to the April 23 subpoena     only one   was made
prior to the May    14 return date . There were no document productions for the May 21 subpoena or
the June 7 subpoena      prior to   their return dates .
         The record demonstrates that                                        had the capabilityto provide records


promptly,but simply allowed the deadlines to pass. Again ,Respondent's own Exhibit P-2 illustrates

this point. Twenty-six of the fifty -seven productions were not made until the three-week period
between the People's filing of the Motion to Compel on July 21,2021,and the Court's second
ordered deadline of August              Between July 21 and the date of the Court Ordered conference on
August 10,                                  produced more than 2,890 documents totaling over 82,000

          In the following week, the production includedmore than 200,000 documents totaling over
1,593,000             At trial, ADA Daniels provided context when she stated, in contrast to the
preceding productions ,         rom March 22, 2021 through the filing of the motions to compel on July
21, 2021                                 produced approximately 40,000 documents which is a significant



45 See TrialTranscript starting at page 59 line 19 through page 60 line 1.
56 See Respondent'sExhibitP-2 , AmendedDANY ProductionChart.
  See Respondent's Exhibit N -2, Defense Response to OTSC dated September 20 , 2021 at page 12.
58 See Respondent's Exhibit N -2 , Defense Response to OTSC dated September 20, 2021 at page 14.



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numberofresponsive records, but is a slim fraction of the total number of responsive records that
we have received to date
                                         consistently failed   to comply fully , if at all, with the subpoenas but
dramatically increased its productions after the People sought             Court intervention . This conduct
demonstrates the Company's indifference to the subpoena requests and deadlines and supports the
inferencethat                                    willfully disregarded   the four subpoenas
                                                               Two




                                                                                                                    to
           ThisCourtissuedan InterimOrder on July 30, 2021
                                                         , directing



comply with the four subpoenas by August 9,2021.                 The Order specified which items remained
outstanding for each subpoena .         Italso directed the Company to provide written confirmation that
allresponsive documents had been produced or that none could be found for each of seven
categories . The Order was modified on August 6 , 2021, relieving                                              of its




obligation to produce the custodians who conducted the searches .                However,                          was




ordered to fully comply with the subpoenas or, in the alternative,to file a motion to quash or
otherwise seek relieffrom the Court. The Parties were ordered to appear on August 10, 2021for a
status conference .



                                          failedto complywith the Interim Order bythe August 10

deadline. Specifically, it failed to comply with the subpoenas , and it failed to provide written

confirmationof compliance as directed by the Court. Inthe Court's presence, at the August 10

conference, Counselfor                                       implicitly conceded it had notmet the deadlines

when he stated,          or the reasons articulated, where we are down to now, is we basically have two

                                                                                                Counsel endeavored
large document requests that are being produced either today or tomorrow .




59
     See Trial Transcriptat page28 lines4 through9.
     See District Attorney Exhibit 27, August 10, 2021 Transcript at pages 4 line 23 through page 5 line 1 .
60




                                                            18
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to explain    t here is a document called                                                      People] can ask


for that. The question has been how do you search for that               Itis therefore evident the

Corporation   understood what the subpoena called for but claimed it did not know how to locate the
records Counsel also conceded , I should have come to the Court, and your Honor kind of
suggested that in your letter of Friday , afternoon , you know, don't wait ,come          to me, make a motion
to quash or do whatever you have to do.
        Significantly                                failed to provide a single confirmationthat all
responsive documents had been provided or that none had been found for each of the seven
categories.   Instead, in its e-mail of August 9, Counsel wrote, " w hen the productions are
complete,the Company will issue a certification.            TheCourt addressed Counsel, y our response
that when productions are complete the Company will issue a certification. (Counsel) that is not
what I asked. That is not what I directed To which Counsel responded,                    apologize.     The

Court further observed, The bottom line whether you were careful or not, (Counsel), by not
providingthe response, you violated this Court's order, plain and simple." To which Counsel
replied,   We will remedy that forthwith.      65




                                       was still notin full compliance with any of the subpoenas as of the

August 9,2021 deadline in the Order of July 30 ,2021, as modified on August 6,2021.




61
   See District Attorney Exhibit 27, August 10, 2021 Transcript at page 5 line 11through 18.
62 See District Attorney Exhibit 27, August 10, 2021 Transcript at page 7 line 22 through 25
63
   See District Attorney Exhibit 25, August 9 Emailfrom Counsel
  See DistrictAttorney Exhibit 27, August 10, 2021 Transcript at page 25 line 18 through 23.
  See District Attorney Exhibit 27, August 10, 2021Transcript at page 28 lines 6 through 10.
65




                                                         19
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                                                          Count3




              Countthree pertains to the Court Order of August 10, 2021 which directed


                  to comply withthe four subpoenas and the Court's Interim Order ofJuly 30, 2021, by

                                                August17,


           On August 17, 2021,                                 submitteda               certificationsignedbyits



                                    assertingthat it had fully complied withthe subpoenas. However, at a


                                                                                                 of
conference on August 19, 2021, the People again, accused


noncompliance. The Court directed                                       to respond to the People's allegations


in writing by 5:00 pm August 20, 2021 and to produce all outstanding documents by August 23,

2021. The Court scheduled another status conference for August 24 , 2021. In a letter dated August

20, 2021                                 acknowledged its productions to date were deficient.

               s certification of compliance submitted three days earlier was therefore invalid.

           The followinglapses were identified: (1) the Information and Technology department set
aside search results for                         but inadvertently failed to forwardthem to its eDiscovery

vendor. As a result, the vendor did not process the documents and the Peopledid notreceive them;
(2) the failure to includethe search term                       and(3) the Company's failureto producethe

email
    from                            The letter also indicated the Company was investigating technical


issues
     .




           Inthis Court's view, it is unacceptable that the               documents ,which were purportedly

identified and set aside by the Corporation's IT department , were not forwarded to the eDiscovery

vendor and simply sat idle for as much as four months . The People had requested that the

Company add
                                                                                                  68
                                        as a custodian to its searches as far back as April            August




66
     See DistrictAttorney Exhibit 29 August 10, 2021
                                                   , Order

     See District Attorney Exhibit 33, August 20, 2021Letter to Hon. Juan M. Merchan.
67




     See District Attorney Exhibit 14, Email from ADA Shinerock at 7:54 am .
68




                                                          20
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17                               still had not produced the records .     Despite   assurances in its August 20
letter that the records would be provided by August 23 , they were not delivered . Instead, Counsel
now claimed that additional searches were required due to technical            issues involving data transfer

from a prior server to a cloud -based                After learning of this , the Court held a conference the
next day. At the   August 24    status conference ,Counsel indicated ,         nan abundance       of caution

                           rerunning currently the                                             andits



      and as they did back from the March subpoena , the searches were run in April,the entire
search hasbeen rerun in the Company's database and it is literally being processed as we speak to
determine ultimately if any documents were left behind as a result of the migration. Thus , the
Company's excuses had apparently evolved. Originally ,the documents had simply notbeen
forwarded Now,a technical issue related to the migration of documents from a prior server
necessitated additional searches

        This conduct, viewed as a whole, supports the inferencethat


willfully disobeyed the Court Order of August 10, 2021.

                                                                  4




        Count 4 pertains to the Court's Order of August 24, which directed


to produce all ofthe                          records by 10 am on August 25, 2021 and further directed

                             toprovidea meaningfulreport on the status of the server migrationissue

by the end of business on Friday, August 27, 2021.


        At the August 24 conference , this Court clearly directed I want those documents in the
People's hands by 10 tomorrow morning, period. Every single document. I do not want to hear
later,a week from now, we overlooked one, you know, we missed one, there was a migration

  See DistrictAttorney Exhibit 34, August 23, 2021 Letter to Hon. Juan M. Merchan.
69




  See District Attorney Exhibit 35, August 24 , 2021Transcript at page 4 line 20 through page 5 line 2.
  See District Attorney Exhibit 34 August 23, 2021 Letter to Hon .Juan M. Merchan .



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problem         Nonetheless                                 did notproduceall the records relatedto


                       bythe August25, 2021 deadline

           Later in an email on August 27, Counsel revealed that an additional 505 documents related
to                  had been identified by the Company . The record is not clear as to when the
Company learned about the existence          of the additional records , but that information was not
disclosed until three days after the witness had testified in the grand jury. In the same email,
                          informed the Court that it was impossible to assess the server migration issue

by the Court's imposed deadline and requested until the close of business Monday , August 30 to

further report . Nonetheless ,                                  failed to update the Court by its self- imposed


deadline of August 30. Instead, a communication was delivered to the District Attorney's Office.
           The server migration issue called into question the entirety of
productions to date .      Further the migration issue only came to light because the People insisted that
there existed a document,which they obtained a copy of from a third party ,but which had not yet
been turned over by the Corporation . Itwas only after repeated requests that
                  disclosed that every one of its previous searches had failed to account for Archived
        files . This Court is hard pressed to accept that                                 with its vast resources



and its ability to hire and retain the best and the brightest minds in the fields of law,compliance, and
  ,failed to anticipate and recognize, that Archive PST files harbored information responsive to the
subpoenas and Court Order and perhaps more importantly ,that the PST files had not migrated to
the new server.




           Respondent's opposition papers to the Order to Show Cause show that the Company had
been put on notice about a possible migration issue. In2020, in connection with a document


     See District Attorney Exhibit 35 August 24, 2021 Transcript at page 13 lines 12 through 17.
     See District Attorney Exhibit 36 August 25-27 Email Chain, August 27 from Counsel at 5:05 pm.



                                                          22
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productionto                                a
                                                                     employee named                complained


that her e- mails had not fully migrated.                      testified onJune 14, 2021, in a deposition taken


by                                      that he believed the Company's IT department had looked into


                  complaint   and determined the problem was limited to             Clearly   that was not the
case. Nonetheless , despite the obvious red flag, the Company failed to thoroughly             investigate   or
otherwise take appropriate remedial action .
           Counsel explained in an email on August 31 that the company had been in the practice of
creating Archive      PST files for about 14 years . Those files stored data the Company's employees
                                                    75




deleted       In2016 , the Company moved from a                                serverto a              cloud



based platform; however, the migration did not include any archive PST files, and in 2020, the

Company changed servers again.            The                    email was in one of the Archive PST files.78


                                nonetheless , urges this Court to accept that because its


                  previously testified that only one company employee hadbeenaffected by the
migration issue,itwas therefore reasonable to believe the server migration had beensuccessful.80

           This Court cannot reachthe same conclusion. Itwas the Company's general practice for

over a decade to create and maintain Archive PST files, and Respondent was on noticeofa possible
migration issueat least since 2020.                      testifiedthatthe complaint was investigatedand
found to be an anomaly . Whether such an investigation was in fact conducted and whether the
investigation in fact concluded that                     migration issuewas merely an anomaly, are not




     See Respondent'sDefenseResponseto OTSC datedSeptember20, 2021 at page 17.
74




     See Respondent'sExhibitQ -1
75




     See Respondent's Defense Response to OTSC dated September 20 , 2021 at page 18.
     See Respondent's Exhibit Q - 1
78
     See Respondent's Exhibit Q - 1

     See Respondent's Defense Response to OTSC dated September20, 2021 at page 18, footnote 7 .
80




                                                          23
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questions this Court has     to answer . It was reasonably foreseeable that deleted email , stored in
archived files,would become relevant to future inquiries . At a minimum , the Corporation's decision
notto search the Archive PST files amounted to intentionally turning a blind eye . At worse, it was a
willful and deliberate failure to comply with the subpoenas and this Court's Order of August 24,
2021.




                                                  Conclusion




          This Courtrecognizes that                                has expended significant resources in
connection with this ongoing investigation . The Corporation has retained attorneys , eDiscovery
vendors and other professionals at significant cost . It has made 123 separate document productions ,
totaling over 3,500,000              In some instances,the subpoenas required
to search the records of nearly 50 different business entities     dating back   to 2005. As this court
acknowledged on October 7 ,2021,            he issue is not whether you are working hard. I don't even
question this has been a massive undertaking.        That is probably an understatement        Nevertheless ,
     what we get down to is as of todaywe establish that the four subpoenas were not fully
complied with until early to mid-September . Same goes for the Court's orders they still have not

been complied with because there are still privilege issues which I'm led to believe will be resolved
by October     31.
           Respondent argues that a finding of criminal contempt is reserved only for those instances
where documents have been destroyed or concealed. This Court disagrees . What the People are
required to prove to make out a prima facie case is that the documents were willfully withheld.

 Willfulness almost necessarily has to be proved as an inference from circumstantial evidence ...
The government does not have the burden of negativing all possible excuses for noncompliance


     See Respondent's Defense Response to OTSC dated, September 20, 2021.
     See TranscriptOctober7 , 2021, page95 line 22 throughpage96 line 6
82




                                                        24
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with a court order. Itis enough to makeouta prima facie case for the governmentto show,as the
government did below, that the appellants, in response to the interim court order calling for the
production of corporation records, refused to surrenderthem when they were in existence and
within their control See Goldfine v. United States, 268 F.2d 941 at 945 ( Cir.1959) (citing Nilva v.
UnitedStates 352 U.S. 385 at 392 [1956 . There is no question that many documents were in
existence and within Respondent's controland yet not produced. Not only does the record
demonstratethis, but                                has concededthis point on severaloccasions. The
onlyquestionforthis Courtto decide thenis whether                                   willfully disobeyed



the subpoenas and Orders .


        To find Respondent guilty of criminal contempt, the People are required to prove

                                                                                        claimstherewere
Respondent'sguilt beyonda reasonabledoubt. Although

good cause reasons for its noncompliance , it is "well settled that a plea of hardship will not excuse

the failure to comply with a subpoena's command and "[w here the defendant is responsible for his
inability to comply , no matter what the hardship , this defense is not available to him. See People .

Forsyth 439 N.Y.S.2d 808 at 810 (N.Y. Co. Sup. Ct . 1981) (citing United States v. Asay , 614 F.2d 665,

660     Cir. 1980 United States . Swingline, Inc., 371 F.Supp. 37, 44-45 E.D. New York 1974 ).
                                        acknowledged at trial that it had only substantially complied.
                                                                                                         84

Ultimately

However, for the purpose of fending off a contempt adjudication , partial or even substantial
compliance with a court order is not obedience to it See, Vacco v. Consalvo , 176 Misc.2d 107 at 115

(Bronx Co. Sup. Ct. 1998) (citing Kuriansky v. Azam ,575 N.Y.S.2d 679 [       Dept. 1991 .
        Arguably ,some of the     violations , standing alone , would not constitute willfulness . However,
examining the record as a whole , there, can be no doubt that                                failures



amount to willful disobedience . Despite clear warnings , the Company missed deadline after

  See TrialTranscriptstartingat page 59 line 19 throughpage60 line 1 .



                                                       25
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deadline, never moving to quash subpoenas and never seeking Court intervention . Some subpoenas
went largely ignored and another was ignored entirely until this Court's intervention on July 30,
2021. The People repeatedly asked this Court to impose sanctions for non-compliance ,at one
point seeking coercive sanctions " of $ 60,000 per day and at another time , asking the Court to find

that               had testified falsely . Each time, this Court demonstrated restraint. Choosing
instead to admonish and warn                               inviting itcountless times to move to quash

or seek this Court's interventionif it believed it appropriate.


                                   expertly produced a steady stream of responsive documents . Just

enough to fend off the People's repeated requests for sanctions while never fully meeting any ofthe

deadlines. When challenged                       provided one excuse after   another. At times it

claimed it was impossible to meet deadlines because the demands were too voluminous , overbroad
or vague On other occasions , it blamed delays and omissions on human error. Ultimately , it
blamed a migration issue for its failure to turn over 505 documents relatedto                       and




the                  email Further, by                              own admission , the completeness



of every single document production was called into question by the migration issue and every single
search had to be rerun. Itgoes without saying that the Certificate of Compliance signed by
            on August 17,2021 was illusory . The claimed migration issue is simply inexcusable in
this context and this Court must draw the inference that it was a willful attempt to withhold records .
        Although  a finding of criminal contempt does not require the movant to establish prejudice
 since the right of the private parties to the litigation is not the controlling factor ." See,Matter of
Environmental Protection of City of New York at 239-240 . Here ,the missing records did indeed prejudice
the Grand Jury investigation . Documents dealing with among other things ,
           and                 whichgo to                                                were frequently



withheld. In another example, documents necessaryto prepare and examine a witness in the grand



                                                    26
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jury were not turned over until three days after her testimony in direct violation of this Court's
directive.

        Despite this Court's   demonstrated restraint and repeated efforts to resolve these discovery
disputes without invoking sanctions ,there    comes a time when a court must enforce its authority . In
this matter ,that time is now. Criminal contempt involves an offense against judicial authority and
it is utilized to protect the integrity of the judicial process and to compel respect for its
mandates [u nlike civil contempt , the aim in a criminal contempt proceeding is solely to punish the
contemnor for disobeying a court order." See , In the Matter of Environmental Protection of City of New
York .Department of Environmental Conservation of the State of New York ,70 N.Y.2d 233 , 239 (1987)
(citing King v. Barnes, 113 NY 476 [1889]; State of New York v. Unique Ideas , 44 N.Y.2d   345 [1978 ).
        For the foregoing reasons , this Court finds the People have met their burden as to all four
counts and this Court must now       compel respect for its mandates     to protect the integrity of the
Grand Jury investigation .
                , this Courtfinds:
        Wherefore



        1. Respondent in criminal contempt of this Court for willful failure to comply with
             subpoenas duces tecum issued by the Grand Jury on March 22, 2021, April 23, 2021, May
             21,2021 and June 7, 2021
        2. Respondent incriminal contempt of this Court for willful failure to comply with the
             Court's Interim Order dated July 30, 2021, as modified by the Court's letter of August 6,
             2021
                ;




        3. Respondent in criminal contempt of this Court for its willful failure to comply with the
             Court's Order issued on the record on August 10,2021;
        4. Respondentincriminal contempt of this Court for its willful failure to comply withthe
             Court's Orderissuedon the record on August 24,2021; and it is hereby


                                                     27
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       ORDERED , that Respondent must pay a fine of $ 1,000 pursuant to           750(A ) (3) and 751( 1)


of the Judiciary Law for each of the four findings of criminal contempt and it is further


       ORDERED, that                                  is to remit payment of $4,000 to the County
Treasurer on a date certain to be determined after a conference with the Parties; and it is further

       ORDERED that this Decisionand Order shall remain sealed pursuant to CPL section

190.50(7) untilfurther Order ofthis Court.




Dated: December8 , 2021
       New York, NewYork


                                                        ENTERED




                                                            Juan    Merchan
                                                       ActingJustice        Court
                                                       Judge Court ofClaims
